       Case 1:21-cr-02032-SMJ      ECF No. 23     filed 10/07/21   PageID.71 Page 1 of 3




 1                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 2                         The Honorable Salvador Mendoza, Jr.
 3   United States of America,
 4
                                     Plaintiff,        No. 1:21-cr-2032-SMJ
 5
           v.                                          Statement of Reasons in Support
 6                                                     of Motion to Continue
     Thomas Alex Morrison, Jr.,
 7
                                  Defendant.
 8
 9
10         My attorney has advised me of my right under the Speedy Trial Act, 18 U.S.C.
11   §3161, to go to trial within a 70-day period. My attorney has also advised me that a
12
     continuance of the trial is needed and we have discussed the reasons for a continuance.
13
     A Motion to Continue the trial has been filed. I ask this Court to grant that Motion to
14
15   Continue and reset the trial date from its current date of November 8, 2021 to a date
16   not later than February 14, 2022, for the reasons stated in the motion to continue and
17
     under 18 U.S.C. § 3161.
18
           I understand that if the Court grants the Motion to Continue that all time
19
20   between the date the Motion to Continue was filed and the new date for trial will be
21   excluded from the speedy trial period under the Speedy Trial Act.
22
                                               ___________________________________
23
                                               Defendant
24
                                                          10/7/2021
25                                            Date:______________________________




     Statement of Reasons: 1
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 1         I have read this form and discussed the contents with my client. Specifically, I
 2
     have reviewed the Motion to Continue and this Statement of Reasons with my client
 3
     telephonically. Due to restrictions on in-person client meetings during the ongoing
 4
 5   COVID pandemic, Mr. Morrison consents to me signing on his behalf.

 6                                          ___________________________________
 7                                        Counsel for Defendant
 8
 9
                                                       10/7/2021
10                                          Date:______________________________

11
12   Dated: October 7, 2021
13
                                                 By s/ Paul E. Shelton
14                                                  Paul E. Shelton, 52337
                                                    Federal Defenders of Eastern
15                                                  Washington and Idaho
16                                                  306 East Chestnut Avenue
                                                    Yakima, Washington 98901
17                                                  (509) 248-8920
                                                    (509) 248-9118 fax
18                                                  Paul_Shelton@fd.org
19
20
21
22
23
24
25




     Statement of Reasons: 2
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 1                                    Certificate of Service
 2
            I hereby certify that on October 7, 2021, I electronically filed the foregoing with
 3
     the Clerk of the Court using the CM/ECF System, which will send notification of such
 4
     filing to the following:
 5
            Michael D. Murphy, Assistant United States Attorney.
 6
 7                                                 s/ Paul E. Shelton
                                                   Paul E. Shelton
 8
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     Statement of Reasons: 3
